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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                         DECLARATION OF JOSEPH SCLAFANI

Pursuant to 28 U.S.C. § 1746, I, Joseph Sclafani, declare as follows:


1. I am 43 years old. I am currently incarcerated at MCI-Norfolk. Immediately before I arrived

   at MCI-Norfolk, I was incarcerated at MCI-Cedar Junction. Before I was incarcerated, I lived

   in Gloucester, Massachusetts.

2. I have been diagnosed with opioid use disorder, ADHD, and anxiety. My doctor in

   Gloucester prescribed medication for addiction treatment (MAT), specifically 16 mg per day

   of buprenorphine, to treat my opioid use disorder. Buprenorphine was working for me.

   Thanks to that medication, I entered into active recovery and began to rebuild my life with

   my wife and four-year old son.

3. When I arrived at MCI-Cedar Junction in mid-August, Dr. Hameed immediately started

   giving me 8 mg of buprenorphine, which is half of my prescribed dose. She said 8 mg per

   day is the maximum amount ofbuprenorphine they will prescribe at MCI-Cedar Junction.

   Dr. Hameed also told me that they do not provide MAT maintenance, but instead force

   people off of their medication after a maximum of only 90 days.

4. That is exactly what happened to me. The medical providers at MCI-Cedar Junction dropped

   my dose from 8 mg to 6 mg to 2 mg and then cut me off entirely on November 17, 2019. On

   November 20, 2019, I was transferred to MCI-Norfolk, where buprenorphine is not offered at

   all.

5. Now that DOC has terminated my prescription, I am terrified that I will relapse, overdose,

   and die.




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Life Before Active Addiction


6. My father used tough discipline, and I had a rough childhood. Because of that, I became very

    closed off at an early age.

7. I started drinking alcohol when I was thirteen years old and started smoking marijuana when

   I was fourteen. Drugs made me feel safe, because they allowed me to shut out the real world.


History ofAddiction


8. When I was almost sixteen years old, my friend injured his knee playing football, and a local

   doctor prescribed him opioids after surgery. My friend gave me some of his pain pills and

   that was the first time I used opioids. That doctor filled many prescriptions for pain pills for

   me and my friend, and that was the beginning of decades of opioid addiction. I switched to

   heroin when prescription pain pills became too expensive.

9. I couldn't live a normal life when I was in active addiction. I was overwhelmed and in pain,

   and did not have space in my brain for myself or my family.

10. In addition to opioid use disorder, I have been diagnosed with anxiety and ADHD. I have

   especially struggled with my mental health since I saw my best friend commit suicide in

   2013. My mental health conditions make it extremely difficult to stay in active recovery

   without medication.

11. My family history of addiction also makes it extremely unlikely that I can stay in active

   recovery without medication. Both my grandfathers and my mother's whole family used

   heroin. Several of my cousins died from HIV/AIDS from intravenous drug use.

12. I have tried straight detox many times, but I was never able to stay in active recovery long

   term because it did not do anything to curb my cravings.



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13. I tried Vivitrol in 2013, but it did not work for me. I felt anxious and uncomfortable, and I

   relapsed just a few weeks after getting the shot because it did not address my cravings

14. I have tried methadone. I was forced to stop methadone three times after being incarcerated.

   The withdrawal was horrible. It was like flu symptoms, but ten times worse. I had intense

   anxiety, depression, nausea, sweating, and chills. While I was going through methadone

   withdrawal, sometimes I couldn't sleep for days on end. Some of my symptoms lasted for

   three months. It is nearly impossible to stay in recovery while going through withdrawal like

   that because you know that taking opioids will make you feel better. I do not want to get

   back on methadone because the withdrawal was such a terrible experience.


Active Recovery


15. In July 2019, I started seeing Dr. Smikle at Middlesex Recovery for treatment for my opioid

   use disorder. Dr. Smikle assessed my medical, addiction, and treatment history and

   prescribed me 16 mg per day of buprenorphine to treat my opioid use disorder.

16. Buprenorphine worked for me. Buprenorphine treatment took the pain and anxiety of

   addiction away. I finally felt like Joey again. Even in other periods of active recovery, when I

   was not being treated with buprenorphine, I was constantly in fear that I would slip back into

   active addiction. When I was receiving buprenorphine treatment, I did not have to worry all

   the time that I might relapse. I did not have a positive drug screen throughout my entire time

   at Middlesex Recovery.

17. Because I did not have to carry that burden of addiction anymore, I finally had space in my

   brain for my family. I could focus on what was really important. I was able to be present with

   my wife and my four-year-old son. For that reason, those weeks when I was being treated




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    with buprenorphine were some of the best of my adult life. Everybody could tell that I was

    different.

18. MAT allowed me to strengthen my relationship with my son. My son takes after me. He

   loves to pretend to be a plumber. Every holiday or birthday, he wants tools instead of toys.

   During those weeks when I was being treated with buprenorphine by Dr. Smikle, my son and

   I spent a ton of time together. I was never able to do that when I was in active addiction.

19. My relationship with my four-year-old son means a lot to me, because I also have a 22-year-

   old son who I have not had a relationship with because of my addiction. I am eager to

   continue my treatment and remain in active recovery for my son's sake.


Current Conviction


20. Because of my long history of opioid use disorder, I have been in and out of the criminal

   legal system for all of my adult life.

21. In October 2017, I was arrested for operating a vehicle under the influence of drugs (QUI).

   At the time, I was asleep in my car, which was parked on my street. I accepted responsibility

   for the offense, and pled guilty to that charge on August 2019. Because it was my fourth OUI

   conviction, I was sentenced to two-and-a-half to four-and-a-half years in state prison.


Lack of MAT Maintenance in the Massachusetts Department of Correction


22. I entered Cedar Junction on August 15, 2019.

23. When I got to Cedar Junction, Dr. Hameed agreed with my opioid use disorder diagnosis and

   confirmed that I was receiving 16 mg ofbuprenorphine per day in the community.

   Nevertheless, she immediately dropped my dose to 8 mg per day.




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24. The providers said they have a maximum daily dose of 8 mg ofbuprenorphine at Cedar

   Junction, and that nobody at Cedar Junction receives more than 8 mg per day for addiction

   treatment. Dr. Hameedtold me: "You will get 8 mg, because that is the way it is here. That is

   our policy."

25. Dr. Hameed also told me that nobody is allowed to stay on buprenorphine at Cedar Junction

   for more than 90 days. She said people can only get buprenorphine for their first 90 days at

   Cedar Junction and for 90 days before they get released from the DOC, but not in between.

   She said Cedar Junction is the only facility providing buprenorphine. She also told me that,

   since people only stay at Cedar Junction for around 90 days before going to another facility,

   the medical providers detox people from MAT instead of providing MAT maintenance.

26. Dr. Hameed said she would taper my dose by 2 mg every 20 days and eventually take me off

   completely after 90 days.

27. Nobody ever gave me a medical reason for changing my dose or forcing me to stop taking

   my medication.

28. When I complained to Dr. Hameed about my inadequate dose ofbuprenorphine, she told me

   to drink water and pray.

29. Everyone I knew who was receiving buprenorphine at Cedar Junction had been told that

   buprenorphine treatment could only be administered for a maximum of 90 days. I saw a letter

   that one of the people receiving buprenorphine at the facility had received from the Deputy

   Superintendent of Cedar Junction. The Deputy Superintendent wrote that Cedar Junction was

   providing buprenorphine for the first 90 days of incarceration and during the last 90 days of

   incarceration.




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30. While I was at Cedar Junction, all ofus who were prescribed buprenorphine lined up in the

    medical unit every morning to receive our doses. One by one, the nurses handed us a cup of

    crushed up pills, which we put under our tongues. We then sat in the auditorium for ten to

    fifteen minutes while the medication dissolved. During this time, we had to sit a few seats

    away from each other, and we were being monitored by guards to make sure that nobody

    diverted the medication. After the medication dissolved, we drank a cup of water, and we

    stuck our hands in our mouths while the guards checked our mouths to make sure no

    medication remained.

31. Staff members at Cedar Junction often made cruel comments about those of us who were

   prescribed buprenorphine. Sometimes, when we were waiting in line to receive our

   medication, we would hear guards or members of the Inter Perimeter Security team call us

   "junkies" or "crack heads."

32. As a general rule, Cedar Junction houses anyone who is on MAT on Block 5. When I was on

   Block 5, we had very limited access to prison jobs, and we had less access to group

   counseling, which many of us want for addiction treatment. The lack of access to jobs and

   programs meant that we had less opportunity to earn good-time credits that could shorten our

   sentences by up to fifteen days per month. We did not have access to the regular canteen. We

   also could not have contact visits with our family members. Because my wife and I did not

   want my four-year-old son to have to experience speaking to his father through a prison

   telephone, this meant that I did not get to see my son the entire time I was at Cedar Junction.

33. I tried to get in the permanent work force at Cedar Junction so that I could stay at Cedar

   Junction and continue to take my medication. The commander of the Inner Perimeter

   Security team told me that nobody on buprenorphine could be on the permanent work force.



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   He said, "I don't want anybody on that shit staying in my facility," referring to people

   receiving buprenorphine treatment.

34. I tried to address the discontinuation of my buprenorphine maintenance treatment by

   submitting an administrative grievance under DOC's grievance procedures, but a DOC

   official returned the grievance to me and said that I should submit a medical grievance

   instead.

35. I submitted many sick slips, medical complaints, medical grievances, and medical appeals

   under the medical grievance procedure regarding Cedar Junction's decision to withdraw me

   from my MAT and to refuse to provide me with my prescribed buprenorphine maintenance

   treatment. For example, on September 3, I submitted a complaint explaining that "there's no

   reason I should be detoxing" from buprenorphine because it is "a daily medication that saves

   my life and helps me to live a life free from addiction and it was cut in half for no reason." I

   requested to be kept on my medication and to be put back on my physician-prescribed dose

   of 16 mg per day.

36. In a response to one such grievance I submitted, Dawn Struzziera, the Health Services

   Administrator at Cedar Junction, wrote: "Regarding your subutex order, we are only

   providing subutex here for up to 90 days."

37. I submitted an appeal to the Well path Appeals Coordinator on both this and another medical

   issue, but the response I received only dealt with the other issue. The Appeals Coordinator

   did not mention my grievance about Cedar Junction's refusal to provide me with my

   prescribed buprenorphine maintenance treatment.




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38. I felt I was treated differently because I submitted grievances. It took me weeks to receive

    my property once I moved to MCI-Norfolk, even though it is just down the road from MCI-

    Cedar Junction.

39. Following the policy that she had described to me, Dr. Hameed tapered my dose from 8 mg

    per day to 6 mg to 4 mg to 2 mg. She stopped giving me my medication entirely on

    November 17, 2019.

40. On November 20, 2019, I was transferred to MCI-Norfolk, where no buprenorphine is

    provided to anyone suffering from opioid use disorder. The providers at MCI-Norfolk have

    not given me my medication.

41. Because of the DOC's policy, I wake up at MCI-Norfolk every day faced with the

    impossible choice of experiencing excruciating withdrawal symptoms and risking relapse and

    overdose, or purchasing buprenorphine on the black market to remain on my medically

    necessary treatment, which could expose me to DOC discipline, retaliation, and an increased

    period of incarceration.

42. I am terrified that I will relapse, overdose and die either in prison or after I am released. I

    need to stay alive for my wife and son.


I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on December 1...£_, 2019




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